Case 18-71767-pmb     Doc 70   Filed 10/20/20 Entered 10/20/20 10:49:03            Desc Main
                               Document Page 1 of 4




  IT IS ORDERED as set forth below:



  Date: October 20, 2020
                                                ________________________________
                                                            Paul Baisier
                                                    U.S. Bankruptcy Court Judge

 _______________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

                                          )           CHAPTER 7
INRE:                                     )
                                          )           CASE NO. 18-71767-PMB
MICHAELI. BLYDENSTEIN,                    )
                                          )
                                          )
        Debtor.                           )
_______________________________________ )     ---------------------------------------
                                          )
S. GREGORY HAYS, Chapter 7 Trustee        )
for the Estate of Michael J. Blydenstein, )
                                          )
                                          )
        Movant,                           )
V.                                        )            CONTESTED MATTER
                                          )
PINGORA LOAN SERVICING, LLC;              )
FULTON COUNTY TAX COMMISSIONER; )
GORDON LOFTS CONDOMINIUM                  )
ASSOCIATION, INC.,                        )
                                          )
        Respondents.                      )


 ORDER ON TRUSTEE'S MOTION FOR AUTHORITY TO (A) SELL REAL PROPERTY
      OF THE ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
    ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING


13032138vl
Case 18-71767-pmb         Doc 70     Filed 10/20/20 Entered 10/20/20 10:49:03             Desc Main
                                     Document Page 2 of 4




        On September 25, 2020, S. Gregory Hays, as Chapter 7 Trustee ("Trustee") for the

bankruptcy estate (the "Bankruptcy Estate") of Michael J. Blydenstein (the "Debtor"), filed

Trustee 's Motion for Authority to (A) Sell Property of the Bankruptcy Estate Free and Clear of All

Liens, Interests, and Encumbrances and (B) Disburse Certain Proceeds at Closing [Doc. No. 67]

(the "Sale Motion"), seeking, among other things, an order from the Court, authorizing the sale (the

"Sale") of that certain improved real property with a common address of 215 Mitchell Street, #9,

Atlanta, Fulton County, Georgia 30303 (the "Property") to Nicholas S. Graham (the

"Purchaser") "as-is, where-is, with all faults" for an all-cash sale price of $260,000.00 (the

"Purchase Price") in accordance with the terms of a Trustee's Purchase and Sale Agreement (the

"Sale Agreement") attached to the Sale Motion as Exhibit "A."

        Also on September 25, 2020, Trustee filed a Notice of Hearing [Doc. No. 69] (the "Notice"),

setting the Sale Motion for hearing on October 19, 2020 (the "Hearing").

        Counsel for Trustee certifies that he served the Notice on all requisite parties in interest. See

[Doc. No. 69].

         Counsel for Trustee appeared at the calendar call for the Hearing. No creditors or parties in

interest appeared to oppose the relief requested in the Sale Motion. No creditors or parties in

interest filed an objection to the relief requested in the Sale Motion.

         Having considered the Sale Motion and the entire record in this matter; no creditors or

parties in interest having objected to the relief requested in the Sale Motion; and for good cause

shown, it is hereby

         ORDERED that the Sale Motion is GRANTED. It is further

         ORDERED that Trustee is authorized and directed to take any and all actions necessary or




13032138vl
Case 18-71767-pmb             Doc 70   Filed 10/20/20 Entered 10/20/20 10:49:03         Desc Main
                                       Document Page 3 of 4




appropriate to (i) consummate the Sale of the Property to Purchaser, (ii) execute, perform,

consummate, implement, and close fully the Sale together with all additional instruments and

documents that may be reasonably necessary; and (iii) execute and perform all of the obligations of

Trustee under the Sale Agreement. It is further

        ORDERED that this Order shall be binding upon all creditors (whether known or unknown)

of Debtor, Trustee, the Bankruptcy Estate, and their respective successors, assigns, affiliates, and

subsidiaries. It is further

        ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser free and clear of all liens, claims, interests, and encumbrances

with all valid and enforceable liens, claims, or interests attaching to the sale proceeds with the same

extent, validity, and priority that they held in the Property. It is further

        ORDERED that the Sale of the Property to the Purchaser is "as is," "where is," and without

representation or warranty, express or implied, from Trustee. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the Sale

of the Property at any time, at which time the gross sales proceeds shall be paid to Trustee pursuant

to this Order, and those disbursements requested by Trustee in his Sale Motion are authorized to be

made. It is further

         ORDERED that this Court retains exclusive jurisdiction over any action relating to, based

upon, or arising from disputes or controversies relating to or concerning the Sale, the Sale

Agreement, or this Order.

                                        [END OF DOCUMENT]



13032138vl
Case 18-71767-pmb        Doc 70       Filed 10/20/20 Entered 10/20/20 10:49:03       Desc Main
                                      Document Page 4 of 4




Order prepared and presented by:

HERBERT C. BROADFOOT II, P.C.
Attorney for Chapter 7 Trustee

By:/s/ Herbert C. Broadfoot II
   Herbert C. Broadfoot II
   Georgia Bar No. 083750
2964 Peachtree Road, N.W.
Suite 555
Atlanta, Georgia 30305
Telephone: (404) 926-0058
 Email: bert@hcbroadfootlaw.com


Identification of parties to be served:

Office of the United States Trustee                Robin Blass
362 Richard B. Russell Bldg.                       Coldwell Banker Residential Brokerage
75 Ted Turner Drive, SW                            5591 Chamblee Dunwoody Road
Atlanta, Georgia 30303                             Building 1300, Suite 100
                                                   Atlanta, GA 30338
S. Gregory Hays
Hays Financial Consulting, LLC                      G. Frank Nason, IV
Suite 555, 2964 Peachtree Road                      Lamberth, Cifelli, Ellis & Nason, P.A.
Atlanta, GA 30305                                   1117 Perimeter Center West, Suite N313
                                                    Atlanta, GA 30338
Arthur E. Ferdinand
Fulton County Tax Commissioner                      John A. Medina
141 Pryor Street                                    Kenney & Medina, P.C.
Atlanta, GA 30303                                   593 Main Street
                                                    Suwanee, GA 30024
Gordon Lofts Condominium Assoc., Inc.
c/o Eric J. Henning, Registered Agent               Michael Campbell
1465 Northside Drive, N.W., Suite 128               Campbell & Brannon, LLC
Atlanta, GA 30318                                   5565 Glenridge Connector, Suite 350
                                                    Atlanta, GA 30342

                                                    Pingora Loan Servicing, LLC
                                                    c/o Lucretia Scruggs
                                                    Shapiro Pendergast & Hasty, LLP
                                                    211 Perimeter Center Parkway, N.E.
                                                    Suite 300
                                                    Atlanta, GA 30346




13032138vl
